Case 2:25-cv-04588-MWC-JC                    Document 18            Filed 06/09/25        Page 1 of 1 Page ID
                                                   #:155
                                  UNITED STATES DISTRICT COURT
                                 CENTRAL DISTRICT OF CALIFORNIA

                                                                  CASE NUMBER:


 DBEST PRODUCTS INC.                                                2:25−cv−04588−MWC−JC
                                                  Plaintiff(s),

          v.
 GUANGZHOU LINCAN ELECTRONIC
 TECHNOLOGY CO., LTD.                                               NOTICE TO FILER OF DEFICIENCIES IN
                                                Defendant(s).
                                                                            FILED DOCUMENT




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                                                Clerk, U.S. District Court

 Dated: June 9, 2025                            By: /s/ Yvette Louis yvette_louis@cacd.uscourts.gov
                                                   Deputy Clerk

 cc: Assigned District Judge and/or Magistrate Judge

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